926 F.2d 1215
    288 U.S.App.D.C. 342
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Jan S. HUDSON, Appellant,v.DEPARTMENT OF the ARMY.
    No. 87-5050.
    United States Court of Appeals, District of Columbia Circuit.
    Feb. 26, 1991.
    
      Appeal from the United States District Court for the District of Columbia.
      D.D.C.
      AFFIRMED.
      Before MIKVA, Chief Judge, and RUTH BADER GINSBURG and CLARENCE THOMAS, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was considered on the record on appeal from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for a published opinion.  See D.C.Cir. Rule 14(c).  It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order filed January 20, 1987, be affirmed substantially for the reasons stated by the district court in its accompanying memorandum.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir. Rule 15.
    
    